Case 1:19-cv-11045-GAO Document 2 Filed 05/03/19 Page 1 of 1

& AO 120 (Rev. 3/04)

 

 

 

 

 

 

 

 

 

TO: Mail Stop 8 REPORT ON THE
‘ Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN
P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1450 TRADEMARK
In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court District of Massachusetts on the following G Patents or G Trademarks:
DOCKET NO. DATE FILED U.S. DISTRICT COURT 5 trict of Massachusetts
PLAINTIFF DEFENDANT

Battery Conservation Innovations, LLU
Hocoma Incorporated

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TRADEMT ARR WO. TRADEMARK. HOLDER OF PATENT OR TRADEMARK
1 U.S. 9,239,158 1/19/2016 Battery Conservation Innovations, Inc.
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In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED INCLUDED BY
G Amendment G Answer G Cross Bill G Other Pleading

TRADEMT ARR WO. TRADEMARK. HOLDER OF PATENT OR TRADEMARK
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In the above—entitled case, the following decision has been rendered or judgement issued:

 

DECISION/JUDGEMENT

 

 

CLERK (BY) DEPUTY CLERK DATE

 

 

 

 

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
